Case 1:24-cr-00542-AS   Document 53-3   Filed 10/30/24   Page 1 of 3




                Exhibit C
Case 1:24-cr-00542-AS   Document 53-3   Filed 10/30/24   Page 2 of 3
      Case 1:24-cr-00542-AS            Document 53-3         Filed 10/30/24       Page 3 of 3


      wrote:


       CAUTION: This email originated from outside of the organization. Do not click links or
       open attachments unless you recognize the sender and know the content is safe.
      Counsel,

      In the joint letter filed with the Court today, you stated that “at some point today, Mr.
      Combs intends to file a motion for a hearing and other remedies related to
      unauthorized and prejudicial leaks of grand jury information.”

      To the extent that your motion relates to any leak of information associated with the
      March 5, 2016 surveillance video at the Intercontinental Hotel in Los Angeles, we write
      to follow up on our conversation last night. As previously discussed, the Government
      did not possess the video published by CNN prior to its public release, and the
      Government possessed no surveillance video at all from the Intercontinental prior to
      CNN’s public broadcast. Accordingly, we wish to advise you that we consider any
      assertion in your motion of a purported Government leak related to the
      Intercontinental surveillance video to lack a good faith basis.

      Emily A. Johnson | Assistant United States Attorney
      United States Attorney's Office | Southern District of New York
      26 Federal Plaza | New York, NY 10278




This message is a PRIVATE communication. This message and all attachments are a private
communication sent by a law firm and may be confidential or protected by attorney-client privilege
or work product protection. If you are not the intended recipient, you are hereby notified that any
disclosure, copying, distribution or use of the information contained in or attached to this message is
strictly prohibited. Please notify the sender of the delivery error by replying to this message, and
then delete it from your system. Thank you.
